Case 4:18-cV-00057-A Document 6 Filed 01/31/18 Paoe' 1 of 1 Paqe|D 23

  
  

MICHAEL D. PRICE,

Plaintiff,
v.

UNITED WAY OF TARRAN'I`
COUNTY,

Defendant.

IN THE UNITED STATES I)ISTRICT co URT
011 THE NORTHERN merch oF T:;:XAS l
FoR'r WGRTH DIVISION M:§ hi 20|8

QUBQO’JCO'JW¢M@QOQQO'JMOVJ

 

U.-§ D§§‘.E`RL f'}- COURT
NQR`F`HERN DISTRICT OF TEXAS

E§LED

 

 

 

. ......`~..».__.\......_.......

CL ;` ` . "1 CT CCURT
331
ep ly `

 

 

 

CIV. ACTION N(): 4:18~cv~0005'7-A

JURY TRIAL DEMANDE])

PLAINTIFF’S NOTICE OF RELATED CASE

As required under Local Rule 3.3, Plaintiff serves this Notioe of Reiated Case because

this case arises from a common nucleus of operative fact as Coneisha L. Sherrod v. Um`ted Way

Worldwide and Unil‘ea’ Way of Tarrant Counly, No. 4117-0\/~00758-0, pending in the U.S.

Distriet Court, Northem Distriet of Texas, Fort Worth Division, before the Honorable Reed

O’ Connor.

Dated: Januar§; 26, 2018

PLAINTIFF’S NOTICE oF RELATED CASE ~ Page 1

Respectfully submitted,

/s/ Courtney Bar'ksdale Perez
E. Leon Carter
Texas Bar No. 03914300
icarter@earterscholer.com
Courtney Barksdale Perez
Texas Bar No. 2406I 135
cperez@earterscholer.eom
CART:<:R SCHOLER PLLC
8150 N. Central Expressway
Suite 500
Dallas, Texas 75206
(214) 550~5052 (phone)
(214) 550-8185 (fax)

 

ATTORNEYS FOR PLAINTIFF
MICHAEL D. PRICE

